                 Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
                                                          Document 188-6    Filed 02/25/22       Page 1 of 2
                                                                                               Oxygen Forensic® Detective - 11.6.2.100

4481                iMessage - Sent                                                                                   iMessage
  9

        Description: (No description)
        From: Me <+18123058776>                                                      Time stamp
                                                                                     (Device time      7/23/2013 6:13:22 PM
                                                                                     +00:00):
        To: +

        Remote party: +

        Direction: Outgoing                           Read status: Read                Deleted: No

        Based on that text today, I'm going to send the boys 10k apiece as a pat on the back for a job well done. I'm going
        to send it out of my own pocket but am going to tell them it's from our "sponsor"(you). You might have to loan me
        money for vodka though!!;)

4482                iMessage - Sent                                                                                   iMessage
  0

        Description: (No description)
        From: Me <+18123058776>                                                      Time stamp
                                                                                     (Device time      7/23/2013 4:30:11 PM
                                                                                     +00:00):
        To: +

        Remote party: +

        Direction: Outgoing                           Read status: Read                Deleted: No

        That's what it's all about right there buddy! Money very well spent in my opinion.

4482                iMessage - Inbox                                                                                  iMessage
  1

        Description: (No description)
        From: +                                                                      Time stamp
                                                                                     (Device time      7/23/2013 4:23:28 PM
                                                                                     +00:00):
        To: Me <+18123058776>

        Remote party: +

        Direction: Incoming                           Read status: Read                Deleted: No

        Awesome!




                                                                                                                   22
                                                                                                                      13260
                                                                                                             20-32-M-DWM
                 Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
                                                          Document 188-6   Filed 02/25/22      Page 2 of 2
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4482                iMessage - Sent                                                                                  iMessage
  2

        Description: (No description)
        From: Me <+18123058776>                                                   Time stamp
                                                                                  (Device time        7/23/2013 4:22:14 PM
                                                                                  +00:00):
        To: +

        Remote party: +

        Direction: Outgoing                           Read status: Read             Deleted: No

        Just wanted to pass on the text I just got, "Anthony, as you can see from the recent news, your efforts and op
        execution paid off high order. Getting number 1 was a direct result of your commitment. Pass that on to our new
        friend as well. -CB"




                                                                                                                              13261
